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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                    AMARILLO DIVISION


 Susan Neese, M.D; James Hurly,
 M.D.; and Jeffrey Barke, M.D., on
 behalf of themselves and others similarly
 situated,

                        Plaintiffs,              Case No. 2:21-cv-00163-Z
 v.

 Xavier Becerra, in his official capacity as
 Secretary of Health and Human Services;
 United States of America,

                        Defendants.


            FIRST AMENDED COMPLAINT — CLASS ACTION
      Section 1557 of the Affordable Care Act prohibits “sex” discrimination in any
health program or activity that receives federal financial assistance. See 42 U.S.C.
§ 18116. On May 10, 2021, Secretary Becerra announced that the Department of
Health and Human Services (HHS) will “interpret and enforce” section 1557 to pro-
hibit: (1) “discrimination on the basis of sexual orientation”; and (2) “discrimination

on the basis of gender identity.” See Exhibit 1. The Secretary’s interpretation of section
1557 is incompatible with the statutory language, and the Court should declare it so
and enjoin the Secretary from using or enforcing this interpretation of section 1557.

                         JURISDICTION AND VENUE
      1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
      2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).




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                                       PARTIES
    3.    Plaintiff Susan Neese, M.D., is a citizen of Texas who resides in Potter
County.

    4.    Plaintiff James Hurly, M.D., is a citizen of Texas who resides in Potter
County.
    5.    Plaintiff Jeffrey Barke, M.D., is a citizen of California who resides in Orange
County.
    6.    Defendant Xavier Becerra is the U.S. Secretary of Health and Human Ser-
vices. He may be served at his office at 200 Independence Avenue SW, Washington,
D.C. 20201. Secretary Becerra is sued in his official capacity.
    7.    Defendant United States of America is the federal government of the United
States of America.

                             STATEMENT OF FACTS
    8.    Section 1557 of the Affordable Care Act provides:

         [A]n individual shall not, on the ground prohibited under title VI of
         the Civil Rights Act of 1964 (42 U.S.C. 2000d et seq.), title IX of the
         Education Amendments of 1972 (20 U.S.C. 1681 et seq.), the Age
         Discrimination Act of 1975 (42 U.S.C. 6101 et seq.), or section 794
         of title 29, be excluded from participation in, be denied the benefits of,
         or be subjected to discrimination under, any health program or activity,
         any part of which is receiving Federal financial assistance, including
         credits, subsidies, or contracts of insurance, or under any program or
         activity that is administered by an Executive Agency or any entity estab-
         lished under this title (or amendments).
42 U.S.C. § 18116(a).
    9.    None of the anti-discrimination statutes mentioned in section 1557 prohibit
discrimination on account of “sexual orientation” or “gender identity.”
    10. In Bostock v. Clayton County, 140 S. Ct. 1731 (2020), the Supreme Court
held that Title VII’s prohibition on “sex” discrimination prohibits employers from
firing or refusing to hire individuals “for being homosexual or transgender.”




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    11. Bostock explained that an employer who fires an employee for conduct or
personal attributes that it would tolerate in a person of the opposite biological sex has

made the employee’s sex the “but-for cause” of his discharge, and that (in the Court’s
view) automatically violates the statutory command of Title VII. The Court explained:

       If the employer fires the male employee for no reason other than the
       fact he is attracted to men, the employer discriminates against him for
       traits or actions it tolerates in his female colleague. Put differently, the
       employer intentionally singles out an employee to fire based in part on
       the employee’s sex, and the affected employee’s sex is a but-for cause
       of his discharge. Or take an employer who fires a transgender person
       who was identified as a male at birth but who now identifies as a female.
       If the employer retains an otherwise identical employee who was iden-
       tified as female at birth, the employer intentionally penalizes a person
       identified as male at birth for traits or actions that it tolerates in an em-
       ployee identified as female at birth. Again, the individual employee’s sex
       plays an unmistakable and impermissible role in the discharge decision.
Bostock, 140 S. Ct. at 1741–42.
    12. Bostock also makes clear that an employer does not violate Title VII if it fires
an employee for conduct or personal attributes that it would not tolerate in an em-
ployee of the opposite biological sex:

       Take an employer who fires a female employee for tardiness or incom-
       petence or simply supporting the wrong sports team. Assuming the em-
       ployer would not have tolerated the same trait in a man, Title VII stands
       silent.
Bostock, 140 S. Ct. at 1742.
    13. Bostock does not prohibit employers from discriminating on account of sexual
orientation or gender identity, so long as they do not engage in “sex” discrimination
when doing so.
    14. For example, Bostock’s interpretation of Title VII does not prohibit discrimi-
nation against bisexual employees or job applicants, so long as the employer regards
bisexual behavior or orientation as equally unacceptable in a man or a woman. See,
e.g., Bostock v. Clayton County, 140 S. Ct. 1731, 1742 (2020) (“Take an employer



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who fires a female employee for tardiness or incompetence or simply supporting the
wrong sports team. Assuming the employer would not have tolerated the same trait

in a man, Title VII stands silent.”); see also id. at 1740 (“[F]iring [a] person for actions
or attributes it would tolerate in an individual of another sex . . . discriminates against
that person in violation of Title VII.”). Discrimination against a bisexual employee or
job applicant is certainly discrimination on account of “sexual orientation,” but it is
not discrimination on account of “sex.”
    15. Bostock also allows employers to discriminate against homosexual or
transgender employees or job applicants, so long as they do so according to rules that
apply equally to both sexes and would lead to the same result if the employee’s bio-
logical different were different. An employer, for example, may decide that he will not
employ any person, male or female, who takes testosterone supplements — regardless
of whether those supplements are being taken by a biological woman who wants to
appear as a man, or by a biological man who wants bigger muscles. Or he may decide
that he will not employ any person, male or female, who has undergone surgery to
modify their genitals. Policies of that sort obviously discriminate against transgender
individuals, but they do not constitute “sex” discrimination as defined in Bostock be-
cause the rules apply equally to both biological sexes. See Bostock v. Clayton County,
140 S. Ct. 1731, 1746–47 (2020) (“We agree that homosexuality and transgender
status are distinct concepts from sex.”).
    16. Secretary Becerra’s edict of May 10, 2021, wrongly equates discrimination

on account of sexual orientation and gender identity with “sex” discrimination. Yet
there are many ways in which health-care providers can deny or withhold controversial
treatments demanded by homosexual, bisexual, or transgender patients without en-
gaging in “sex” discrimination as defined in Bostock.
    17. Consider a health-care provider who refuses to prescribe testosterone hor-
mones to a biological woman who wishes to appear as a man. If that provider would


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have equally refused to prescribe those hormones to a biological man, then there is
no “sex” discrimination under Bostock.

    18. Or consider a health-care provider who refuses to refer a biological man for
a sex-change operation that would remove his penis and testicles. As long as that pro-
vider would have equally refused to refer a biological female for that identical opera-
tion, then there is no “sex” discrimination under Bostock.
    19. Or consider a health-care provider who refuses to prescribe Truvada or PrEP
drugs to homosexual men because he does not wish to facilitate homosexual sodomy,
which he regards as immoral or contrary to his religious beliefs. So long as that pro-
vider would likewise refuse to prescribe Truvada or PrEP drugs to female patients,
then he has not engaged in “sex” discrimination of any sort.
    20. Yet the Becerra edict would consider all of this a violation of section 1557,
because it falsely states that Bostock prohibits all forms of discrimination on the basis
of “sexual orientation” or “gender identity.” See Exhibit 1 at 2 (“The Bostock majority
concluded that the plain meaning of “because of sex” in Title VII necessarily included
discrimination because of sexual orientation and gender identity.”). Bostock held noth-
ing of the sort. It remains perfectly legal after Bostock to “discriminate” against ho-
mosexual or transgender individuals, so long as one does not engage in “sex” discrim-
ination when doing so — i.e., so long as one does not treat a biological man differently
from how he would treat an identically situated biological woman.

                     FACTS RELATED TO STANDING
    21. Plaintiff Susan Neese, M.D., is an internal medicine specialist in Amarillo,
Texas. She is affiliated with Baptist Saint Anthony’s Hospital, which receives federal
money and is subject to section 1557.
    22. Dr. Neese’s views on transgenderism are nuanced. She has treated patients
suffering from gender dysphoria in the past and has on occasion prescribed hormone




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therapy for them. But she does not believe that hormone therapy or sex-change op-
erations are medically appropriate for everyone who asks for them, even if those indi-

viduals are suffering from gender dysphoria, and she will on occasion decline to pre-
scribe hormone therapy or provide referrals for sex-change operations, consistent with
her Hippocratic Oath to do no harm.
    23. Dr. Neese is categorically unwilling to prescribe hormone therapy to minors
who are seeking to transition, and she is equally unwilling to provide referrals to mi-
nors seeking a sex-change operation. Dr. Neese believes that these gender-transition-
ing acts should be made only after a patient reaches adulthood.
    24. Dr. Neese believes that she is ethically obligated to inform biologically female
patients of their need for cervical-cancer screening and other preventive care desig-
nated for women, regardless of the gender identity that the patient asserts. Dr. Neese
also believes that she is ethically obligated to advise biologically male patients of their
need for prostate-cancer screening, regardless of whether that patient identifies as a
man or a woman. Dr. Neese believes that it is unethical to provide “gender affirming”
care to transgender patients in situations where a patient’s denial of biological realities
will endanger their life or safety.
    25. Dr. Neese has treated many transgender patients — both minors and
adults — in the past, and she expects to continue doing so in the future. Dr. Neese is
likely to encounter minor transgender patients who will request hormone therapy and
referrals for sex-change operations that she is unwilling to provide, as well as adult

transgender patients who will deny or dispute their need for preventive care that cor-
responds to their biological sex, and she intends to provide care to these individuals
in a manner consistent with her ethical beliefs.
    26. Plaintiff James Hurly, M.D., is a board-certified pathologist in Amarillo,
Texas. He is employed by the Amarillo Pathology Group, which receives federal
money and is subject to section 1557.


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    27. Dr. Hurly’s views on transgenderism are nuanced. Although he recognizes
that some biological men may identify as women (and vice versa), he has encountered

situations in his medical practice when he must insist that a patient acknowledge his
biological sex rather than the gender identity that he asserts. For example, Dr. Hurly
once diagnosed a biological male patient with prostate cancer, but the patient refused
to accept Dr. Hurly’s diagnosis because he identified as a woman and insisted that he
could not have a prostate. Dr. Hurly had to firmly explain to this patient that he was
indeed a biological man with a prostate, and that he needed to seek urgent medical
treatment for his prostate cancer.
    28. Dr. Hurly believes that he is ethically obligated to inform biologically male
patients with prostate cancer of the fact that they have a prostate, and that they must
seek treatment for prostate. Dr. Hurly believes that it is unethical to provide “gender
affirming” care to transgender patients in situations where a patient’s denial of bio-
logical realities will endanger their life or safety.
    29. Dr. Hurly has treated transgender patients in the past, and he expects to
continue doing so in the future. Dr. Hurly is likely to encounter transgender patients
who will deny or dispute their need for health care that corresponds to their biological
sex, and he intends to provide care to these individuals in a manner consistent with
his ethical beliefs.
    30. Plaintiff Jeffrey Barke, M.D., is board certified in family medicine and
practices at a primary-care concierge medical group in Newport Beach, California. Dr.

Barke’s practice receives federal money and is subject to section 1557.
    31. Dr. Barke is unwilling to prescribe hormone therapy to minors who are seek-
ing to transition, and he is unwilling to provide referrals to minors seeking a sex-
change operation. Dr. Barke believes that these gender-transitioning acts should be
made only after a patient reaches adulthood.




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    32. Dr. Barke believes that he is ethically obligated to inform biologically female
patients of their need for cervical-cancer screening and other preventive care desig-

nated for women, regardless of the gender identity that the patient asserts. Dr. Barke
also believes that he is ethically obligated to advise biologically male patients of their
need for prostate-cancer screening, regardless of whether that patient identifies as a
man or a woman. Dr. Barke believes that it is unethical to provide “gender affirming”
care to transgender patients in situations where a patient’s denial of biological realities
will endanger their life or safety.
    33. Dr. Barke has treated many transgender patients — both minors and adults —
in the past, and he expects to continue doing so in the future. Dr. Barke is likely to
encounter minor transgender patients who will request hormone therapy and referrals
for sex-change operations that he is unwilling to provide, as well as adult transgender
patients who will deny or dispute their need for preventive care that corresponds to
their biological sex, and he intends to provide care to these individuals in a manner
consistent with his ethical beliefs.
    34. Secretary Becerra’s announced interpretation of section 1557 inflicts imme-
diate, present-day injury on Dr. Neese, Dr. Hurly, and Dr. Barke. By announcing that
HHS will interpret section 1557 to prohibit discrimination on account of “sexual
orientation” and “gender identity,” and by failing to explain what that means and how
it will apply to situations in which the provision of gender-affirming care may conflict
with the Hippocratic Oath, the Secretary’s announced interpretation creates in ter-

rorem effects on each of the plaintiffs — who can only wonder whether they or their
practices will lose federal money if they ever refuse to provide gender-affirming care
to a transgender patient. The effect of the Secretary’s action is to instill this fear in
medical practitioners, and induce them to provide gender-affirming care even when
doing so would violate the Hippocratic Oath or their ethical beliefs.




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    35. Secretary Becerra’s announced interpretation of section 1557 inflicts addi-
tional injury on the plaintiffs because it is entitled to Skidmore deference from the

courts, which will make it more difficult for medical professionals who lose their fed-
eral funding over transgender issues to challenge that decision. See United States v.
Mead Corp., 533 U.S. 218 (2001).
    36. All of these injuries are traceable to Secretary Becerra and his announced
interpretation of section 1557, and it will be redressed by the declaratory and injunc-
tive relief sought in this lawsuit.

                       CLASS-ACTION ALLEGATIONS
    37. The plaintiffs bring this class action under Rule 23(b)(2) of the federal rules
of civil procedure.
    38. Dr. Neese, Dr. Hurly, and Dr. Barke seek to represent a class of all health-
care providers subject to section 1557 of the Affordable Care Act.
    39. The number of members in the class makes joinder of the individual class
members impractical.
    40. There are questions of law common to the class, including whether Secre-
tary Becerra’s Notification of Interpretation and Enforcement of May 10, 2021, cor-
rectly interprets section 1557 and Bostock.
    41. Dr. Neese, Dr. Hurly, and Dr. Barke’s claims are typical of other members
of the class, as each of them wishes to preserve the autonomy of their medical practice.
    42. Dr. Neese, Dr. Hurly, and Dr. Barke adequately represent the interests of
the class, and they have no interests antagonistic to either of the classes.
    43. A class action is appropriate under Rule 23(b)(2) because the defendants
are acting on grounds that apply generally to the class, so that final injunctive relief or
corresponding declaratory relief is appropriate respecting the class as a whole.




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                   Claim 1: Administrative Procedure Act
    44. Secretary Becerra’s Notification of Interpretation and Enforcement of May
10, 2021, is “not in accordance with law” under section 706(2)(A) of the APA, be-

cause it wrongly equates discrimination on account of sexual orientation and gender
identity with “sex” discrimination.
    45. The Court should “hold unlawful and set aside” the Notification of Inter-
pretation and Enforcement of May 10, 2021, and it should enjoin the Secretary from
enforcing its interpretation of section 1557.
    46. The plaintiffs bring this claim under sections 702, 704, and 706 of the APA.
See 5 U.S.C. §§ 702, 704, 706.

                     Claim 2: Declaratory Judgment Act
    47. Section 1557 and Bostock do not prohibit discrimination on account of sexual
orientation and gender identity. They prohibit only discrimination on account of
“sex,” and they allow health-care providers to take discriminatory actions with respect
to homosexual, bisexual, or transgender patients as long as they would have acted in
the same manner had the patient had been a member of the opposite biological sex.
    48. The Court should therefore declare that section 1557 does not prohibit dis-
crimination on account of sexual orientation and gender identity, as Secretary Becerra
claims, but that it prohibits only “sex” discrimination, which means that provider
would have acted differently toward an identically situated member of the opposite
biological sex.
    49. The plaintiffs bring this claim under 28 U.S.C. § 2201.

                            DEMAND FOR RELIEF
    50. The plaintiffs respectfully request that the court:




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        a.   certify the class described in paragraph 38;

        b.   hold unlawful and set aside Secretary Becerra’s Notification of Interpre-
             tation and Enforcement of May 10, 2021;

        c.   enjoin Secretary Becerra from using or enforcing the interpretation of
             section 1557 that appears in the Notification of Interpretation and En-
             forcement of May 10, 2021;

        d.   award the declaratory relief described in paragraph 48;

        e.   award costs and attorneys’ fees;

        f.   award all other relief that the Court deems just, proper, or equitable.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
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 Dated: November 23, 2021




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                       CERTIFICATE OF SERVICE
    I certify that on November 23, 2021, I served this document through CM/ECF
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